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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                                   )
     PAR PHARMACEUTICAL, INC., PAR                 )
     STERILE PRODUCTS, LLC and ENDO                )
     PAR INNOVATION COMPANY, LLC,                  )
                                                   )
                                  Plaintiffs,      )
                                                        C.A. No. 18-823-CFC
                                                   )
            v.                                     )
                                                   )
     EAGLE PHARMACEUTICALS INC.,                   )
                                                   )
             Defendant.                            )
    ---------- -----
                                         PROTECTIVE ORDER



           WHEREAS the Parties agree that the nature of this case will require them to seek and
    produce documents and information, and elicit deposition testimony, the disclosure of which
    poses a substantial risk of harm to the Producing Party's legitimate proprietary interests;

           WHEREAS the Parties agree that a protective order is necessary to minimize the harm
    flowing from the disclosure of sensitive information; and

          WHEREAS the Parties agree to the terms of this Order to protect their confidential
    documents, things and information;

             IT IS HEREBY ORDERED THAT the Parties and any non-party subject to discovery in
    this action are bound by the terms of this Protective Order governing the production of
    Confidential Information in this action.

            1.    Scope of Protective Order: This Protective Order applies to all Discovery
    Materials produced by a Producing Party in connection with this action. In addition, this
    Protective Order allows for the filing of documents with the Court under seal, subject to any
    applicable Local Court Rule or CM/ECF procedure, if such documents contain Confidential
    Information. This Protective Order shall apply regardless of whether such information was
    produced prior to or after entry of this Protective Order.

           2.      Definitions:

                   (a)    The term "Confidential Information" means any confidential, proprietary,
                          or commercially sensitive information, including confidential, proprietary
                          or sensitive design, development, technical, or manufacturing information,
                          as well as any information which is not generally known and which the
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                     Producing Party would not normally reveal to third parties or would cause
                     third parties to maintain in confidence and/or which the Producing Party
                     reasonably and in good faith believes is of the type protectable under Rule
                     26(c){l)(G) of the Federal Rules of Civil Procedure or is required to be
                     kept Confidential by law or by agreement with a third party or otherwise.
                     "Confidential Information" shall not include: (i) materials that show on
                     their face that they have been disseminated to the public; or
                     (ii) information that the Producing or Designating Party agrees, or the
                     Court rules (a) is already public knowledge, (b) has become public
                     knowledge other than as a result of disclosure by the Receiving Party, its
                     employees or agents in violation of this Protective Order, or (c) has come
                     into the Receiving Party's legitimate knowledge or possession
                     independently of the Producing Party under conditions such that its use
                     and/or public disclosure by the Receiving Party would not violate any
                     obligation to the Producing Party. Any summary, compilation, notes,
                     memoranda, analysis or copy containing Confidential Information and any
                     electronic image or database containing Confidential Information shall be
                     considered Confidential Information to the same extent as the material or
                     information from which such summary, compilation, notes, copy,
                     memoranda, analysis, electronic image, or database is derived.

               (b)   The term "Designating Party" means any Party or Person who designates
                     Discovery Material as "Confidential" or "Highly Confidential-Outside
                     Counsel's Eyes Only."

               (c)   The term "Highly Confidential Information" shall include and be limited
                     to Confidential Information consisting of the following specific categories
                     of particularly competitive and sensitive business information:

                     (i)     The purchase price, purchase date, and quantity for the active
                             ingredient;

                     (ii)    Highly sensitive business competitive marketing plans, market
                             research and business strategy documents, including research
                             regarding competitors, relating to the vasopressin market;

                     (iii)   Forecasted and/or actual sales of a party's vasopressin product, the
                             number of products sold, total dollar value of products sold, and
                             any profit or expense data, including profit margins;

                     (iv)    Identity of current or prospective customers and distributors of a
                             party's vasopressin product; and

                     (v)     Such other information as may be agreed by the parties, or ordered
                             by the Court on motion by the Producing Party, to be sufficiently
                             commercially sensitive as to warrant such designation.




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               (d)   Any summary, compilation, notes, memoranda, analysis or copy
                     containing Highly Confidential Information and any electronic image or
                     database containing Highly Confidential Information shall be considered
                     Highly Confidential Information to the same extent as the material or
                     information from which such summary, compilation, notes, copy,
                     memoranda, analysis, electronic image, or database is derived. The term
                     "Discovery Material" means any documents, tangible or intangible
                     information, or things (including, without limitation, any writings, video
                     or audio tapes, computer-generated or recorded information in any form,
                     materials, oral or written testimony, interrogatories, answers to
                     interrogatories, requests for admission, responses to requests for
                     admission, document requests, responses to document requests, deposition
                     notices, deposition testimony, deposition transcripts and exhibits, and
                     other responses to requests for information or any tangible thing) produced
                     or disclosed by a Party or non-party in this action.

               (e)   The term "Outside Counsel" means litigation counsel of record for the
                     Parties, including associated personnel necessary to assist outside counsel
                     in this action, such as legal assistants, paralegals, secretarial, stenographic,
                     information technology and clerical employees actually assisting such
                     counsel; outside vendors that scan, code and/or produce documents at such
                     counsel's request; translation services; computer services; and trial
                     consultants, their employees, and independent contractors hired to assist
                     them, other than those persons described in paragraph 2(i)(iii) below.

               (f)   The terms "Parties" or "Party" mean the following plaintiffs and/or
                     defendants in this civil action: Par Pharmaceutical, Inc., Par Sterile
                     Products, LLC, Endo Par Innovation Company, LLC, and Eagle
                     Pharmaceuticals Inc., and any other parties that may hereafter be named as
                     additional plaintiffs or defendants in this action.

               (g)   The term "Person" means any natural person or any business, legal or
                     governmental entity or association.

               (h)   The term "Producing Party" means any Party or Person who produces or
                     discloses any Discovery Material.

               (i)   The term "Qualified Person" means:

                     (i)    Outside Counsel;

                     (ii)   up to two (2) in-house counsel of a Party responsible for managing
                            this litigation as reasonably necessary to the litigation of this
                            action, who are specifically identified in Paragraph 7(b) herein or
                            are later identified in accordance with the terms of the Protective
                            Order, and who agree to be bound by the terms of the Protective




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                             Order by signing the attached Undertaking, and paralegals or
                             secretaries who support such in-house counsel;

                     (iii)   outside independent experts and consultants of the Parties who are
                             assisting Outside Counsel in this action and any necessary
                             assistants and stenographic and clerical employees under their
                             direct supervision and employed by them or their employer or
                             organization, provided that any applicable requirements of
                             Paragraph 7(a) below are satisfied;

                     (iv)    any mediators agreed upon by the Parties, including regularly
                             employed support personnel of the mediator (such as
                             administrative assistants, secretaries, clerical and administrative
                             staff) as necessarily incident to the mediation process;

                     (v)     the Court, its personnel, jurors and alternate jurors, and court
                             reporters, stenographers and videographers transcribing or
                             recording testimony at depositions, hearings or trial in this Action;
                             and

                     (vi)    any other person with prior written consent of the Producing Party.

               G)    The term "Receiving Party" means any Person to whom Confidential
                     Information is disclosed in this action.

               (k)   Qualified Persons authorized to receive Confidential or Highly
                     Confidential Information shall have no current involvement and shall not
                     have involvement for the duration of this litigation in any of the following
                     activities: (i) the prosecution of any patent or patent application
                     concerning vasopressin, not including post-grant review proceedings,
                     including inter partes reviews (IPRs) or post-grant reviews (PGRs); and
                     (ii) the preparation or submission of any FDA documents (including but
                     not limited to Citizen Petitions), or any similar documents in any foreign
                     country, regarding approval requirements relating to vasopressin.

         3.    Designation of Confidential Information:

               (a)   Discovery Material, or any relevant portion of any letter, brief, motion,
                     affidavit, discovery response, discovery request, or other pleading, may be
                     designated by any Producing Party as "Confidential" or "Highly
                     Confidential-Outside Counsel's Eyes Only," provided the material meets
                     the definitions thereof provided herein.

               (b)   Such designations shall be made or supervised by an attorney and shall be
                     based on a good faith belief that Discovery Material so designated is
                     entitled to protection under the terms of this Protective Order. Any
                     information supplied in documentary or other tangible form may be
                     designated by the Producing Party, or other Person claiming that the


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                           information is Confidential or Highly Confidential Information, by placing
                           or affixing on each page of such Document, or on the face of such thing,
                           the legend "CONFIDENTIAL - PURSUANT TO PROTECTIVE
                           ORDER" or "HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL'S
                           EYES ONLY PURSUANT TO PROTECTIVE ORDER," respectively.
                           Information, documents, articles and things previously produced under
                           protective orders in other cases that bear appropriate confidentiality
                           markings from such other cases, need not be stamped again; such material
                           stamped "Confidential Information" or "Highly Confidential" produced in
                           this litigation will be treated as Confidential Information, and such
                           material stamped "Highly Confidential - Attorneys' Eyes Only" or
                           "Confidential Information - Attorneys' Eyes Only" produced in this
                           litigation will be treated as Highly Confidential Information, in accordance
                           with the terms of this Protective Order.

                   (c)    Confidential Testimony: Testimony obtained from a deposition or hearing
                          may be designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL -
                          OUTSIDE COUNSEL'S EYES ONLY" when appropriate, either on the
                          record at the deposition or hearing or by letter or by email to all counsel of
                          record and the reporter within twenty (20) days after receipt of the final
                          (i.e., not "draft" or "rough") transcript. Subject to any requirements of the
                          Court, the reporter for any deposition or hearing shall affix a mark of
                          "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - OUTSIDE
                          COUNSEL'S EYES ONLY" to pages that contain testimony designated
                          as such. All such transcripts shall be treated as Highly Confidential until
                          designated otherwise or until the time to so designate has expired as set
                          forth in this provision, whichever is later.

            4.      Publicly Available Material: Discovery Material that has been produced to or
    prepared by or for, any government agency that is available to the public, either by the Freedom
    of Information Act or any other federal or state law, and Discovery Material which is otherwise
    available to the public from any source, should not be designated as "Confidential" or "Highly
    Confidential-Outside Counsel's Eyes Only." If a Party receives material designated
    "Confidential" or "Highly Confidential-Outside Counsel's Eyes Only" that the Party believes
    falls under this Paragraph, the Party may challenge the designation and request relief from the
    Court, after conferring in good faith with Outside Counsel for the Producing Party. If the Party
    seeks relief from the Court, until the Court rules on the requested relief, the Discovery Material
    shall be treated as "Confidential" or "Highly Confidential-Outside Counsel's Eyes Only," as the
    case may be. The Party or Person claiming that the material is "Confidential" or "Highly
    Confidential-Outside Counsel's Eyes Only" bears the burden of establishing the confidentiality
    of the so-designated materials.

            5.     Nondisclosure of Confidential Information: Except with the prior written
    consent of the Party or Person originally designating Discovery Material as "Confidential" or
    "Highly Confidential-Outside Counsel's Eyes Only," or as provided in this Protective Order, no
    Confidential or Highly Confidential Information may be disclosed to any Party or Person, other
    than a Qualified Person. Except with the prior written consent of the Party or Person originally


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    designating Discovery Material as "Highly Confidential- Outside Counsel's Eyes Only," or as
    provided in this Protective Order, Highly Confidential Information may only be disclosed to
    Qualified Persons with the exception of in-house counsel described under Paragraph 2(i)(ii). No
    Confidential Information may be disclosed to any Person engaged in the activities set forth in
    Paragraph 2(k).

            6.      Disclosure of Confidential Information: Any information designated as
    "Confidential" or "Highly Confidential-Outside Counsel's Eyes Only" shall be maintained in
    confidence by any Receiving Party and may be disclosed to Qualified Persons only as permitted
    under the terms of this Protective Order. Prior to any disclosure to Qualified Persons in
    categories 2(i)(ii) or (iii) above, the relevant requirements of Paragraph 7 below shall be
    satisfied, including that each such Qualified Person shall read this Protective Order and sign the
    Undertaking attached hereto. The Party that has retained, or disclosed Confidential Information
    to, the Qualified Persons shall retain a copy of the executed Undertaking(s) until the final
    resolution of this action.

          7.    Disclosure of Confidential Information to Experts, Consultants, and In-
    House Counsel:

                   (a)    Independent Experts and Consultants. The following applies for each
                          independent expert and consultant, including nontestifying experts and
                          consultants, described in Paragraph 2(i)(iii) above to whom Confidential
                          Information is to be disclosed in any way:

                          (i)     Such expert or consultant shall first read this Protective Order and
                                  sign the Undertaking attached hereto.

                          (ii)    At least five (5) business days prior to the Receiving Party
                                  disclosing Confidential Information to any expert or consultant, the
                                  Receiving Party shall deliver (by electronic mail) to all other
                                  Parties a copy of the signed Undertaking, a resume or curriculum
                                  vitae and a description setting forth the person's (I) name, (2)
                                  residence and office addresses, (3) present employer, job title and
                                  job description, (4) any consulting activities (litigation and non-
                                  litigation) within the last five years relating to the pharmaceutical
                                  industry, (5) a list of cases in which the person has testified
                                  (including by declaration, report, or at trial or deposition) within
                                  the last five years, (6) any past or present relationship with any
                                  Party, and (7) a brief job history for the past five years.

                          (iii)   If a Party has a good faith basis for believing it would be harmed
                                  by the proposed disclosure, the Party shall object to such
                                  disclosure within five (5) business days after service of the
                                  information called for in Paragraph 7(a)(ii). Objections must be in
                                  writing and state with particularity the basis for the objection.




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                     (iv)     In the event of such an objection, the Parties shall meet and confer
                              within three (3) business days to attempt to resolve the concerns
                              giving rise to the objection. If the parties are unable to reach an
                              agreement regarding such disclosure, the Party objecting to
                              disclosure may, within five (5) business days of the meet and
                              confer, request that the Court issue an order barring such
                              disclosure. The objecting Party shall have the burden of showing
                              why that person should not have access to Confidential
                              Information. Pending resolution of any such motion or
                              application, no disclosure of Confidential Information shall be
                              made to that person. The filing and pendency of such motion shall
                              not limit, delay or defer any disclosures of Confidential
                              Information to persons as to whom no such objection has been
                              made.

               (b)   Designated In-House Counsel. The following applies for each in-house
                     counsel designated under the terms of this Order:

                     (i)       Subject to the requirements set forth herein, the in-house counsel
                               described in Paragraphs 2(i)(ii) above who may have access to
                             . Confidential Information (but who may not have access to Highly
                               Confidential Information pursuant to Paragraph 5) in accord with
                               the provisions of this Protective Order are:

                                     i.   For Plaintiffs - In House Counsel:

                                             1.       Lawrence Brown

                                             2.       Matthew Maletta

                                   ii.    For Eagle Pharmaceuticals Inc. - In House Counsel:

                                             1.       [To be identified.]

                                             2.       [To be identified.]

                     (ii)     Prior to any Confidential Information being provided to any in-
                              house counsel identified above, each such person shall read this
                              Protective Order and sign the Undertaking attached hereto. The
                              Party seeking disclosure of the Information shall deliver (by
                              electronic mail) a copy of the executed Undertaking to each Party.

                     (iii)    In the event that any of the in-house counsel identified above can
                              no longer serve as a designated in-house counsel in this action, the
                              designating Party may select a replacement person to view
                              Confidential Information of the Producing Party. The new in-
                              house counsel shall execute an Undertaking as required herein, and
                              shall otherwise comply with all terms of this Protective Order, and


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                             the Party seeking disclosure to such person shall deliver (by
                             electronic mail) a copy of the executed Undertaking to each Party.

                     (iv)    If a Party has a good faith basis for believing it would be harmed
                             by the proposed disclosure, the Party shall be entitled to object to
                             such disclosure within five (5) business days after service of the
                             Undertaking. Objections must be in writing and state with
                             particularity the basis for the objection.

                     (v)    In the event of such an objection to disclosure of Confidential
                            Information to a replacement in-house counsel, the Parties shall
                            meet and confer within three (3) business days to attempt to
                            resolve the concerns giving rise to the objection. If the parties are
                            unable to reach an agreement regarding such disclosure, the Party
                            objecting to disclosure may, within five (5) business days of the
                            meet and confer, request that the Court issue an order barring such
                            disclosure. The objecting Party shall have the burden of showing
                            why that person should not have access to Confidential
                            Information. Pending resolution of any such motion or
                            application, no disclosure of Confidential Information shall be
                            made to that person. The filing and pendency of such motion shall
                            not limit, delay, or defer any disclosures of Confidential
                            Information to persons as to whom no such objection has been
                            made.

         8.    Use of Designated Materials:

               (a)   Subject to Paragraph 15 below, Confidential Information shall be used by
                     the Receiving Party solely for the purposes of preparation for trial, pretrial
                     proceedings, and trial of actions and proceedings in this action, and not for
                     any business, commercial, regulatory, competitive, personal, or other
                     purpose or any other action, including without limitation that Confidential
                     Information disclosed in this litigation shall not be used in: (i) any other
                     action, including lawsuits against FDA; (ii) the prosecution of any patent
                     or patent application; (iii) the preparation or submission of any United
                     States FDA documents (including but not limited to Citizen Petitions), or
                     any similar documents in any foreign country; (iv) and marketing,
                     financial, pricing, or other business competitive decision-making (not
                     including settlement or other decision-making in the litigation).

               (b)   Confidential Information may be disclosed by a Receiving Party during a
                     deposition, to the extent that its use is reasonably necessary, at the
                     depositions of the following:

                     (i)    The present directors, officers, employees, agents or Rule 30(b)(6)
                            designees of the Producing Party;



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                     (ii)    An author, addressee, or other person indicated as a lawful
                             recipient of a document containing the information;

                     (iii)   A person not within subparagraphs 8(b)(i)-(ii) above who is clearly
                             identified in prior discovery or by the deponent in his or her
                             deposition as an author or recipient of the information (without
                             prior disclosure of the Confidential Information);

                     (iv)    An independent advisor, consultant, expert or other Qualified
                             Person entitled under this Protective Order to receive such
                             information;

                     (v)     Any person for whom prior authorization is obtained from the
                             Producing Party or the Court; or

                     (vi)    Individuals who have been identified through discovery (including
                             document production, written discovery or deposition testimony)
                             as having knowledge of the particular Confidential Information,
                             even if the individual is not identified as an actual author or
                             recipient on the face of the document at issue.

               (c)   During depositions of any Party or non-party, a Party or non-party
                     claiming that information that is to be disclosed or upon which questions
                     may be based is Confidential Information may exclude from the room for
                     that portion of the deposition any person who is not permitted to access
                     such Confidential Information under the terms of this Protective Order.

         9.    Inadvertent Productions:

               (a)   In the event any document is produced that the Producing Party later
                     claims is protected by the attorney-client privilege, work-product doctrine,
                     or other privilege or immunity, the Receiving Party shall, as soon as
                     possible but not later than within five (5) business days of receipt of a
                     written request by the Producing Party, return the original to the Producing
                     Party (or at the option of the Receiving Party destroy the original with
                     written verification provided to Outside Counsel for the Producing Party),
                     destroy or delete all copies thereof, as well as all notes, memoranda or
                     other documents that summarize, discuss or quote the document, and
                     delete any copy of the document, or any portion thereof, from any word
                     processing or database tape or disk it maintains. Upon receiving notice of
                     inadvertent production, the Receiving Party(ies) shall not make any use of
                     such document or thing or disseminate the same in any way. The
                     unintentional or inadvertent production of privileged, work-product-
                     protected or otherwise immune documents in the course of discovery in
                     this action shall not constitute a waiver of any privilege, work-product-
                     protection or immunity, either as to the produced document or as to any
                     other documents or communications embracing the same or similar


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                           subject matter provided that the Producing Party notifies the Receiving
                           Party in writing of such unintentional or inadvertent production promptly
                           after the Producing Party discovers such unintentional or inadvertent
                           production. Return of a document for which the Producing Party has
                           asserted a claim of privilege, work-product-protection or immunity under
                           this paragraph shall be without prejudice to the Receiving Party's right to
                           seek an order from the Court directing production of the document on the
                           ground that the claimed privilege, work-product-protection or immunity is
                           invalid, inapplicable or waived, provided, however, that any motion or
                           other application for such order shall not rely upon in any manner or assert
                           as a ground the fact or circumstances of the unintentional or inadvertent
                           production, nor shall it disclose the substance of the inadvertently
                           produced material except to the extent that an in camera inspection of the
                           materials is requested.

                   (b)     Nothing herein shall prevent the Receiving Party from preparing and
                           keeping a record containing the date, author, email address(es), and such
                           other metadata as is reasonably necessary to identify a document or
                           communication a Producing Party later claims is protected by the attorney-
                           client privilege, work-product doctrine, or other privilege or immunity in
                           order to file a motion to compel production of the information. Such a
                           record may not be used for any purpose other than the preparation and
                           filing of a motion to compel. After the return or destruction such a
                           document or communication, the Receiving Party may challenge the
                           Producing Party's claim(s) of privilege or immunity by making an
                           application to the Court.

                   (c)     Unintentional or inadvertent failure to designate any information as
                           "Confidential" or "Highly Confidential-Outside Counsel's Eyes Only"
                           pursuant to this Protective Order shall not constitute a waiver of any
                           otherwise valid claim for protection, provided that the Producing Party
                           notifies the Receiving Party in writing of such unintentional or inadvertent
                           failure to designate promptly (and no later than ten (10) business days)
                           after the Producing Party discovers such unintentional or inadvertent
                           failure to designate. In the event of an unintentional or inadvertent failure
                           to designate any information, arrangements shall be made for the return to
                           the Producing Party, or the destruction or deletion of, all copies of the
                           unintentionally or inadvertently undesignated information and for the
                           substitution, where appropriate, of properly labeled copies.

            10.     Privilege Logs: Documents or communications created or taking place on or
    after April 16, 2018, if subject to a claim of attorney-client privilege, work product protection, or
    any other privilege or immunity, need not be included on a privilege log.

            11.   Redactions: Documents and things produced or made available for inspection
    may be subject to redaction, in good faith by the Producing Party, of (i) information that relates
    to drug products that do not contain vasopressin and is not otherwise relevant to this action or


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    reasonably likely to lead to the discovery of admissible evidence in this litigation,
    (ii) confidential personally identifiable information (e.g., social security numbers, patient names,
    dates of birth), or (iii) information that is subject to the attorney-client privilege or to the work-
    product immunity. Each such redaction, regardless of size, shall be clearly labeled. All
    documents redacted shall be listed on a redaction log stating the basis for such redaction. This
    Paragraph shall not be construed as a waiver of any Party's right to seek disclosure of redacted
    information.

           12.    Filing: All documents - including pleadings, motions and other papers -
    containing Confidential Information shall be filed with the Court under seal in accordance with
    the Court's Local Rules and CM/ECF procedures.

             13.    Challenges to Confidentiality Designations and Requests to Disclose
    Confidential Information to Non-Parties: If the Receiving Party desires to disclose
    Confidential Information to someone other than a Qualified Person above, or if the Receiving
    Party disagrees with the confidentiality designation by the Producing Party, then the Receiving
    Party shall so notify, in writing, Outside Counsel for the Person or Party asserting the
    confidentiality of the information. Outside Counsel for the Person or Party asserting the
    confidentiality of the information and the Receiving Party shall first try to resolve such dispute
    within five (5) business days after receipt of the Receiving Party's notice. If the dispute cannot
    be resolved, the Receiving Party, upon no fewer than three (3) business days written notice to the
    Person or Party asserting the confidentiality, may seek a ruling from the Court that the
    information is improperly designated or that such disclosure should take place because the
    interest of the Person or Party asserting the confidentiality in limiting the dissemination of the
    information is outweighed by the need for such disclosure. Pending a determination by the
    Court, such information shall be treated as Confidential Information as designated by the Person
    or Party asserting the confidentiality claim. All Confidential Information is entitled to
    confidential treatment pursuant to the terms of this Order until and unless the parties formally
    agree in writing to the contrary or a contrary determination is made by the Court.

            14.     Preservation of the Right to Challenge Confidentiality Designation: No party
    shall be obligated to challenge the propriety of a confidentiality designation, and a failure to do
    so shall not preclude a subsequent challenge to the propriety of such designation. This Protective
    Order shall be without prejudice to the right of any Party or other subscriber to this Protective
    Order (a) to bring before the Court at any time the question of whether any particular document
    or information is Confidential Information or whether its use otherwise should be restricted or
    (b) to present a motion to the Court under Fed. R. Civ. P. 26(c), for a separate protective order as
    to any such particular document or information, including restrictions differing from those
    specified herein.

            15.    Other Proceedings:

                   (a)     By entering this Protective Order and limiting the disclosure of
                           information in this case, the Court does not intend to preclude another
                           court from finding that information may be relevant and subject to
                           disclosure in another case. Any Person or Party subject to this Protective
                           Order who becomes subject to a motion to disclose another Party's


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                           information designated as "Confidential" or "Highly Confidential-Outside
                           Counsel's Eyes Only" pursuant to this Protective Order shall promptly
                           notify that Party of the motion so that the Party may have an opportunity
                           to appear and be heard on whether that information should be disclosed.

                   (b)     In the event any Receiving Party having possession, custody, or control of
                           any Confidential Information receives from a non-party to this action a
                           subpoena or other process or order or discovery request to produce such
                           information in another, unrelated legal proceeding, such party (i) shall
                           notify counsel for the Designating Party of the subpoena or other process
                           or order or discovery request, and (ii) shall not produce or disclose the
                           information until the Designating party has had reasonable time (at least
                           fourteen (14) calendar days, unless the deadline to respond to the
                           subpoena or other process or order or discovery request is earlier) to object
                           or take other appropriate steps to protect the information. The Designating
                           Party shall have the burden of defending against such subpoena or other
                           process, order, or discovery demand.

             16.    Client Consultation: Nothing in this Protective Order shall prevent or otherwise
    restrict Outside Counsel or designated in-house counsel from rendering advice to their clients
    and, in the course thereof, relying generally on examination of Confidential Information
    produced in discovery in this action; provided, however. that in rendering such advice and
    otherwise communicating with such clients, Outside Counsel or designated in-house counsel
    shall not make specific disclosure of any item so designated except as permitted herein.

            17.    Modification Permitted: Nothing in this Protective Order shall prevent any
    Party or other Person from seeking modification of this Protective Order, from objecting to
    discovery that it believes to be otherwise improper, from applying to the Court for relief
    therefrom, or from applying to the Court for further or additional protective orders, or from
    agreeing among themselves to modify or vacate this Protective Order, subject to the approval of
    the Court. The Court retains jurisdiction even after termination of this action to enforce this
    Protective Order and to make such amendments, modifications, deletions and additions to this
    Protective Order as the Court may from time to time deem appropriate.

            18.    Responsibility of Attorneys: The attorneys of record for each respective party
    are responsible for employing reasonable measures, consistent with this Protective Order, to
    control duplication of, access to, and distribution of copies of Confidential Information received
    by them.

            19.    No Waiver: Review of Confidential Information as permitted in this Protective
    Order in connection with this action shall not waive the confidentiality of the information or
    objections to production. The inadvertent, unintentional, or in camera disclosure of Confidential
    Information shall not, under any circumstances, be deemed a waiver, in whole or in part, of any
    Party's claims of confidentiality.

           20.     Purpose Is to Facilitate the Exchange of Information: This Protective Order is
    entered solely for the purpose of facilitating the exchange of information between the Parties to


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    this action without involving the Court unnecessarily in this process. Nothing in this Protective
    Order, nor the production of any documents or disclosure of any information pursuant to this
    Protective Order, shall be deemed to have the effect of (a) an admission or waiver, including
    waiver under the Federal Rules of Evidence or applicable Local Rules, by any Party or other
    subscriber to this Protective Order; (b) altering the confidentiality of any such information; or
    (c) altering any existing obligation of any party or other subscriber, or the absence of such
    obligation.

             21.     Termination of the Litigation: Within 90 days after the final conclusion of this
    litigation, including all appeals, all Discovery Materials designated as "Confidential" or "Highly
    Confidential-Outside Counsel's Eyes Only," and all copies of the same, shall be returned to the
    Producing Party or, at the option of the Receiving Party, destroyed. This includes all notes,
    memoranda or other documents that summarize, discuss or quote materials or information
    produced and designated as "Confidential" or "Highly Confidential-Outside Counsel's Eyes
    Only," except that, with respect to word processing and database tapes and disks, the Receiving
    Party shall destroy or erase such tapes or disks to the extent practicable. Outside Counsel for
    each Party shall be entitled to retain copies of all filings, their work product, any transcripts of
    depositions, hearings or trial testimony in this action, written discovery or discovery responses,
    as well as documents that have been marked as exhibits to a deposition and documents included
    on trial exhibit lists and that contain or refer to information designated as "Confidential" or
    "Highly Confidential-Outside Counsel's Eyes Only" provided that all such documents shall
    remain subject to this Protective Order. Outside Counsel of record shall make certification of
    compliance herewith and shall deliver the same to Outside Counsel for the party that produced
    the documents not more than I20 days after conclusion of this litigation, including all appeals.

            22.     No Limitations on Party's Use of its Own Information: This Protective Order
    shall not limit a Producing Party's use of its own Confidential Information.

             23.   Third Parties: If a third party provides Discovery Materials to any Party, such
    third party may adopt the terms of this Protective Order with regard to the production of any
    Confidential Information by executing a Notice of Election to Adopt Stipulated Order on
    Confidentiality Agreement and Protective Order ("Notice of Election") in the form attached
    hereto. In the event of such election, the provisions of this Protective Order shall apply to such
    Discovery Materials as if such Discovery Materials were being provided by a Party to this
    litigation. Under such circumstances, the third party shall have the same rights and obligations
    under this Protective Order as held by the Parties to this litigation.

            24.      Information Not Covered by this Protective Order: The restrictions set forth
    in this Protective Order will not apply to Confidential Information that is in the possession of or
    otherwise known to the Receiving Party or the public before the date of its transmission to the
    Receiving Party, or which comes into the lawful possession of or becomes known to the
    Receiving Party or comes into the possession of or otherwise becomes known to the public after
    the date of its transmission to the Receiving Party, provided that, as shown in written records,
    such information does not become publicly known by any act or omissions of the Receiving
    Party which would be in violation of this Protective Order or otherwise violate any
    confidentiality obligation owed to a Party.



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             25.    Survival: This Protective Order shall survive and remain in full force and effect
    after termination of this action. Neither the termination of this lawsuit nor the termination of
    employment of any person with access to any Confidential Information shall relieve such person
    from the obligation of maintaining the confidentiality of such information.

           26.     Pending Entry by the Court: Until such time as this Protective Order has been
    entered by the Court, the parties agree that upon execution by the parties, it will be treated as
    though it had been "So Ordered."

            The undersigned counsel of record stipulate that the Court should enter the above
    Protective Order as an order of the Court, and further stipulate that the Protective Order shall
    constitute a binding contract among the Parties and their counsel.

    AGREED AND STIPULATED TO:

    Dated: January 14, 2019

     Respectfully submitted,                              Respectfully submitted,



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          SO ORDERED, this/r,:;-ay of January, 2019.




                                           The Honorable Colm F. C
                                           United States District Co




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                      UNDERTAKING AND ACKNOWLEDGEMENT OF
                 PROTECTIVE ORDER AND CONFIDENTIALITY STIPULATION



            I , - - - - - - - - - - - - - - " hereby attest as follows:

            I.      I understand that CONFIDENTIAL and HIGHLY CONFIDENTIAL material

    may be disclosed to me under the terms of the Protective Order attached to this Undertaking and

    Acknowledgement. I have a copy of and have read the Order, and I agree to comply with and be

    bound by its terms. I also agree to be subject to the jurisdiction of this Court for the purpose of

    enforcing this Order and this agreement.

            2.      I agree that I will not disclose to anyone else the CONFIDENTIAL and HIGHLY

    CONFIDENTIAL material disclosed to me, nor discuss or describe the substance or content of

    such material, except as provided in the Order, and that I will use such material only for the

    purposes of this litigation.

            3.      I agree that I will not keep any CONFIDENTIAL or HIGHLY CONFIDENTIAL

    material or copies of any such material (including notes or other memoranda or writings

    containing or relating to such material) except to the extent permitted by the Order, and, upon

    request, will destroy or return such material to the attorneys who disclosed such material to me.



    Dated:_ _ _ _ _ _ __
                                                          Signature




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                      NOTICE OF ELECTION TO ADOPT STIPULATED ORDER
                   ON CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER



             1.       _ _ _ _ _ _ _ _ _ _ a non-party to the above-captioned litigation, has

     been requested and/or subpoenaed by a party to produce discovery containing Confidential

     Information and/or Highly Confidential Information in connection with the above-captioned

     litigation.

             2.       _ _ _ _ _ _ _ _ _ _ hereby elects to adopt the terms of the Stipulated

     Confidentiality Agreement and Protective Order (herein, the "Protective Order") with regard to

     its terms regarding production of Confidential Information and/or Highly Confidential

     Information.

             3.       The provisions of the Protective Order shall apply to all documents, things and

    other information produced by _ _ _ _ _ _ _ _ _ _ as if such discovery were being

    provided by a party. _ _ _ _ _ _ _ _ _ _ shall have the same rights and obligations

    under the Protective Order as held by the parties.



    Dated:- - - - - - - -
                                                           Name




                                                           Company




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